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7 ORIGINAL v

CIVIL RIGHTS COMPLAINT

be

42 U.S.C. § 1983

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

GORDON MoSELEY

“CY Z

Full name of plaintiff/prisoner ID#

Plaintiff,

-against-

 

Enter full names of defendants
[Make sure those listed above are
identical to those listed in Part I1.]

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AMON, Chi? Non

Defendants.
--X
I Previous Lawsuits:
A. Have you begun other lawsuits in state or federal court

dealing with the same facts involved in this action or
otherwise relating to your imprisonment? Yes( ) No(/)

B. If your answer to A is yes, describe each lawsuit in the space below
(If there is more than one lawsuit, describe the additional lawsuits

on another piece of paper, using the same outline.)

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}/PRO SE OFFICE!

1. Parties to this previous lawsuit:

Plaintiffs:

 

 

Defendants:

 

 

2. Court (if federal court, name the district;
if state court, name the county)

 

3. Docket Number:

 

 
 

 

ot Case 1193)

os

4, Name of the Judge to whom case was assigned:

_ 5. Disposition: (for example: Was the case dismissed? Was it
appealed? Is it still pending?)

 

6. Approximate date of filing lawsuit:

 

7. Approximate date of disposition:

 

I. Place of Present Confinement: G i ‘hi 20. Bex B58
Gewanda , New York (618
A. Is there a prisoner grievance procedure in this institution? Yes (“) No( )

B. Did you present the facts relating to your complaint in the prisoner
grievance procedure? Yes( ) No(/)

C. H your answer is YES,

1, What steps did you take?

 

 

 

 

2. What was the result?

 

D. If your answer is NO, explain why not The viclation of the Plainttft
Civil cial Wappend ot bis apportvewd vor ial Peisonl

E. If there is no prison grievance procedure in the institution, did you complain
to prison authorities? Yes({ ) No( ) |

 

FB. If your answer is YES,

1. What steps did you take?

 

 

 

2. What was the result?

 

 
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YU. ‘Parties:

A. Name of plaintiff Corpers) Mestre
Address G a Cope iu 0. BV, Gowanda, MY, 14070-c9il -
ess GowaAwn ,

(Home) 157 Belmowy Avenue. 158, BRookLyN, New YoRK, N21

(In item B below, place the fall name and address of each defendant)

B. List all defendants’ names and the addresses at which each defendant may be served.
Plaintiff must provide the address for each defendant named.

Defendant No. 1 Detective wel Lezaua, Sheitd $0

Drool n) Koberey Sevam CBe5)

£59 Geran Avenue, Pecodun , New Yorn, W228,

Defendant No. 2 Ti = A 2249

Defendant No. 3 . Cc 5 fo, BOS
Pecoeiyy) Peoppeey Susp (BES
25% Cpaup WEE, Barter vi, Mews Yori, 1278

Defendant No. 4

 

 

 

Defendant No. 5

 

 

 

[Make sure that the defendants listed above are identical to those listed in the caption on page 1}.

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Ty. Statement of Claim: s) of the event(s) alleged as

e. Include the date( tate
ely, the facts a 4 "clude the names of each defendant and Y u
e the events occurred. ‘olated your rights. Yo

aiming V1

h person named was involved in the event you are.cl 6 aoe te allege @ camber of
noed not give legal arguments or cite to cases OF statutes. lry ne yon may use sdditional
stat Weleimas number and set forth each claim in a separate paragraph.
relate ;

8 14 by 11 sheets of paper as necessary.)

On THE Dare oF Ly jar 2Ol0, OFFICERS AmSLeEM ©
Lezama,Neuouer Ray, evr Davebes Moncavo erTeeo THE PLANTIFF's
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(State briefly and concis
well as the location wher

 

    

 

 

 

 

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MOWING DPT. we LE. OFFICERS MaDe TEATS © Shorr HEE SMALL
DOG _IF SHE OLDN'T PUT iT AWAY AND STOP i FROM BARKING AFFICERS sur~ Béan) THEEATENING
ER SON OSELE 3A t _ OFricers Acrested

Goklon), WHILE I THE pOUsE pnp BovGH? HIM 76 THE Siero WHERE THEY CouTINUED 7a THREAT

Amu) COpPSE HIM wit MAKING AN FALSE INVOLUNTARY CoMeessioN, Jo tHEY WwoviDN'T FRAME

 

Hilo Youwabe BRCTHER. “SAWM- Like THEY SAID THEY woeto IF HE IDM compey, THE cericeRsS

ArS¢ VEMED Goeth HIS LAWYER, PRIK 10 HIM REQUESTING auc Several pms, Ine led,
at home coring Hw arrest, dacquehne Moce Witness Peis and celled Phe faury er

 

layer Called Per officers ab the Staton ard Skrd H Stop Questomng him. Lewes “Honey A

IV.A If you are claiming injuries as a result of the events you are complaining about, — Het
describe your injuries and state what medical treatment you required. Was Be 4.
medical treatment received? Sopra”

 

Groeeoy Nesey | was A WISTORY oF MetraAR HEALTH
rasves Maly, Depcescion). He xs cverend by Conte IN
A _CoPRECTIONAL FACILITY THAT PRDVIDES No” Menta HEALTH
DiGPITE fy BEING om WIS MEDICAL RECORD. Nn Mopical TeEarMEnT
WAS GIVING ACTER THe INCIDEAIT AfOR FURTHER DOWN JHE Live —
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Vv. Relief:

State what relief you are seeking if you prevail on your complaint.

 

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has a hi Siovy Of Mental Health om Lhe

£15600 ~ ~ 26,000 Dain > Suffering tat nm sain Of Wmees,
Mosely haniicee ‘sed } Sod. —

Tdeclare under penalty of perjury that on hoy 6 _ Z0Ie || delivered this

(Date)
complaint to prison authorities to be mailed to the United States District Court for the Eastern

 

 

 

District of New York.

Signed this___ 6 day of November , 201%, I declare under penalty of

perjury that the foregoirig is true and correct.

Mltaolus

Sigrfature of Plaintiff

G OUSE DID A Cope ctr { Eace'(i hy
Name of Prison Facility

 

 

 

P.c. Box 3M
Gowonda; Nw Yack, MOTO
Address

In EF ~ 3649)
_ Prisoner ID#

 
